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                                                                        R!C"ftRn
                                                                        i-'il-            v'^

                      UNITED STATES DISTRICT COURT
                        SOUTHERN DISTRICT OF OHIO                    ^ ^ ^ ^   >?'. :*
                                                                     L'.::. i j.. :{     r"'    '"'. '"'o
                                                                                         i'. S i-: JU



ANTHONY VIOLA,                           )   CASEN0. 2:21-cv-3088"
                                         )
        Plaintiff                        )   Judge Marbley
                                         )
                                             Magistrate Judge Deavers
-vs.-
                                             Motion to Intervene
OHIO ATTORNEY GENERAL                    )   Fed. R. Civ. P. 24(b)
DAVE YOST, et. al,                       )
                                         )
        Defendants                       )
                                         )


      Now comes nonparty Kelly Patrick, respectfully submitting this Motion to
Intervene for the limited purpose of addressing this Court for three (3) minutes on
Friday, January 28, 2022.

                                    BACKGROUND

        InsideTheMind. net is a true crime website operated by the Proposed
Intervenor, whose former husband, John Patrick is the brother of Senior Assistant
Ohio Attorney General Daniel Kasaris.        Over the past decade and a half, the
proposed intervenor has amassed significant evidence that documents criminal
activities by John Patrick and Daniel Kasaris. Moreover, the wife ofDaniel Kasaris,
Susan Kasaris, discovered Dan Kasaris was having a romantic relationship with
government witness Kathryn Clover, and threw Daniel Kasaris out of the family
home on Beckenham - then discussed the affair, Daniel Kasaris' sex and alcohol
addiction andother misdeeds in a series ofFacebook posts over the course ofa year,
Exhibit A.

        InsideTheMnd. net began exposing misconduct by Patrick and Kasaris,
including

   . A cover up ofJohnPatrick's domestic abuse and drug growing operation by
        the City of North Olmsted
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    . The creation of Special Needs Trusts on behalfofone ofmany Daniel Kasaris
        paramours, Kelly Connors, who cannot spend any money without approval of
        Daniel Kasaris,

    . Other wrongdoing by John Patrick and Daniel Kasaris was exposed on the
      InsideTheMind. net website, while public records requests and interactions
      with a private investigator further assisted the Proposed Intervenor develop a
        series ofblogs on her website.

        Like the Plaintiff in the instant matter, the Proposed Intervenor was also
threatened with prosecution for posting blogs and making public key documents.
The Proposed Intervenor was also threatened with prosecution if she continued
making public records requests or otherwise interacted with governmental officials,
Exhibit B Like the Plaintiff, the undersigned asked Defendant Daniel Kasaris and
Defendant Damian Billak to identify under what authority they were operating
under, and to pinpoint specific statements on the InsideTheMind. Net website that
were inaccurate or false. No reply has been forthcoming, promoting a First
Amendment suit in the Northern District ofOhio, Patrick v. Kasaris et. al.. (1:21-cv-
01155), Ohio Northern District Court.

                                    ARGUMENT

      The Proposed Intervenor has a protected legal interest in the outcome ofthese
proceedings, and the request to address the Court will provide additional information
this Court may wish to consider as it adjudicates this matter.


   I.        Applicable Law of Intervention

        Intervenor petitions the Court for permissive intervention pursuant to Fed. R.
Civ. P. 24(b). Pursuant to Pumell v. Akron, 925 F. 2d 941, 950 (6th Cir. 1991) (citing
NAACP v. New York, 413 U. S. 345, 365-66 (1973)), when considering permissive
intervention, the Court should consider whether "the intervention will unduly delay
or prejudice the adjudication ofthe rights ofthe original parties. " Id. at 951. For the
reasons that follow, the Court should grant Intervenor's permissive intervention in
this case.
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   II.      The Motion to Intervene Is Timely

      This action has not progressed beyond the pleading stage and discovery has
not commenced. Accordmgly, the proposed intervention is timely, and will not
prejudice any party. United States v. Tennessee, 260 F.3d 587, 592 (6th Cir. 2001)
(quoting Jansen v. City of Cincinnati, 904 F. 2d 336, 340 (6th Cir. 1990)).


III. The Intervenors Meet The Requirement Of Permissive Intervention To
Show At Least One Common Question of Law or Fact With The Existing
Defendants



      The Court should permit the Intervenor Applicants to intervene permissively
pursuant to Fed. R. Civ. P. 24(b). Here, the Intervenor "alleges at least one common
question of law or fact. " United States v. Michigan, 424 F.3d 438, 445 (6th Cir.
2005) (citing Michigan State AFLCIO v. Miller, 103 F. 3d 1240, 1248 (6th Cir.
1997)), and thus should be permitted to intervene.

         The Plaintiff in this case argue that his First Amendment rights are being
chilled, and the Proposed Intervenor has a similar claim, and her claims result from
similar threats of prosecution by the same defendants.


IV. The Intervenor's Ability To Protect Their Interest May Be Impaired In
The Absence of Intervention

         The proposed intervenor's legal position in a similar case would be bolstered
if this Court finds that the Defendants violated the Plaintiffs First Amendment
rights. Likewise, any finding adverse to the Plaintiffwould impact claims made by
the Proposed Intervenor. "To satisfy this element of the intervention test, a would-
be intervenor must show only that impairment of its substantial legal interest is
possible if intervention is denied. This burden is minimal. " Gmtter v. Bollinger, 188
F. 3d 394, 399 (6th Cir. 1999)
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V. This Court May Benefit from Hearing from the Proposed Intervenor

      Because the hearing on January 28th is before the Court, and not a jury, there
is no risk of any prejudice to any party to the claim. In fact, this Court may wish to
consider a brief statement from the undersigned, which would provide insight into
the actions of the Defendants in this matter.




                                  CONCLUSION

For the foregoing reasons, the Court should grant the Intervenor Applicants' Motion
to Intervene, as permissive intervenors, for the limited purpose of addressing this
Court for three (3) minutes on January 28, 2022.


                                                Respectfully Submitted,




                                                Kelly Pat^ck
                                                8883 Holly Lane
                                                Olmsted Falls, Ohio 44138
                                                (440)503-4592
                                                tmecrimewriter3 @gmail. corn
                                                January 7, 2022
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                             CERTIFICATE OF SERVICE


      I, Kelly Patrick, hereby swear and affirm that I caused a copy ofthe foregoing
Motion to Intervene to be served upon the following individuals, via email and
regular U. S. mail, postage prepaid, on this 7th day of January, 2022:


                                              DAVID COMSTOCK,
                                              Counsel for DAMIAN A. BILLAK
                                              3 701B Boardman-Canfield Road
                                              Suite 101
                                              Canfield, Ohio 44406-1584


                                              DANIEL KASARIS
                                              11984 Beckenham Road
                                              North Royalton, Ohio 44133
                                              DanielJKasaris@Yahoo. com

                                              JULIE PFEIFFER
                                              Counsel for Ohio Attorney General
                                              30 East Broad Street, 16th Floor
                                              Columbus, Ohio 43215
                                              Julie.Pfeiffer@OhioAGO. gov

                                              Anthony Viola
                                              2820 Mayfield Road # 205
                                              Cleveland Heights, Ohio 44118
                                              (330) 998-3290
                                              MrTonyViola@icloud. com



                                              Respectfully Submitted,


                                                        _A^u/c^-
                                                    Pal'rick
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   Susan Kasaris


   Probably

   Oct 7, 2016, 12:00 PM


   Kelly Patrick

   I think they're both enabling each other.

   Oct 7, 2016, 12:00 PM


   Susan Kasaris


   Please don't repeat this

   Oct 7, 2016, 12:00 PM


   Susan Kasaris


   I think we are better together then apart

   Oct 7, 2016, 11:59 AM


   Susan Kasaris


   Idk what is wrong with him. hie keeps texting. He wants me in his life but doesn't live here.

   Oct 7, 2016, 11:59 AM


   Kelly Patrick

   Yep. Are you and Dan done for good?

   Oct 7, 2016, 11:57 AM


   Susan Kasaris


   I know you tried. That is ALL you can do.

   Oct 7, 2016, 11:57 AM


   Kelly Patrick

   I tried. I really did. He's on his own path that doesn't include me.

   Oct 7, 2016, 11:55 AM
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   LI Id I I U                                       [Tt\jf   ptTS^ffT^J~THVTynnCTTVS^p^

   married a long time but the things they've said about me and you....they don't deserve us.

   Oct 7, 2016, 12:07 PM


   Susan Kasaris


   I wanted to get info on your yoga class. I think it would help me. If you feel that would be
   awkward.... ! understand

   Oct 7, 2016, 12:05 PM


   Susan Kasaris


   hie uses alcohol to suppress his true feelings

   Oct 7, 2016, 12:02 PM


   Kelly Patrick

   So is John. They know how to work us

   Oct 7, 2016, 12:02 PM


   Susan Kasaris


   He is playing with my emotions

   Oct 7, 2016, 12:02 PM


   Kelly Patrick

   He went over one day with Alyssa and passed out at 830. The kids told me when they got back to
   my house that dan was drunk and fell asleep at 830. John laughed when I told him what the kids
   said.

   Oct 7, 2016, 12:02 PM


   Susan Kasaris


   Oh brother

   Oct 7, 2016, 12:01 PM


   Kelly Patrick

   Never. I don't talk to either of them. Dan tried to friend request me one day he was at John's house
   but I don't need either of them snooping in my life.
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   Susan Kasaris


   I leave it in God's hands. I am thankful for my beautiful family and my health.

   Oct 7, 2016, 12:16 PM


   Susan Kasaris


   My friend is in the samel boat with her husband.

   Oct 7, 2016, 12:15 PM


   Kelly Patrick

   I had to get out. John is falling apart and he doesn't care about anything but his alcohol.

   Oct 7, 2016, 12:12 PM


   Ketly Patrick

   They're both messed up.

   Oct 7, 2016, 12:12 PM


   Susan Kasaris


   At the same time he texts me about our life together

   Oct 7, 2016, 12:09 PM


   Susan Kasaris


   I am sure Dan is bad mouthing me but he doesn't understand that he is nothing without me. I
   supported him for 29 years....

   Oct 7, 2016, 12:09 PM


   Susan Kasaris


   I understand.

   Oct 7, 2016. 12:07 PM



   Kelly Patrick
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   Oct 7, 2016, 12:48 PM


   Susan Kasaris


   *doesn't go directly to the issue

   Oct 7, 2016, 12:47 PM


   Susan Kasaris


   She the kind of person who directly to the problem but talk to people around the problem and hope it
   gets resolved. Unfortunately she should be going directly to John not you she's trying to talk through
   you.... Dan does it all the time.

   Oct 7, 2016, 12:47 PM


   Kelly Patrick

   Agreed. However I don't think either of them would listen to Pat. I know John wouldn't. He doesn't
   talk to her or help her at all. She came up a few weeks ago and we talked for 2 hrs at Brayden's
   football game. She knows John has issues but she can't say anything. Everyone shunned me when
   I brought up all this stuff years ago. Julie was the worst.

   Oct 7, 2016, 12:36 PM


   Susan Kasaris


   I feel like if Pat would intervene it would help . They never had a strong Father figure.....this is the
   root of it

   Oct 7, 2016, 12:32 PM


   Kelly Patrick

   I tried to help John for too long. Wasted my life away. I have come to terms that it may never work
   and I desen/e much better.

   Oct 7, 2016, 12:24 PM


   Susan Kasaris


   If Dan wants to throw his life away then that's his issue. I've done all I can .......it takes two

   Oct 7, 2016, 12:21 PM


   Kelly Patrick
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    Kelly Patrick

   You'd think. But it's easier to hide than face the truth.

    Oct 8, 2016, 4:19 PM


    Susan Kasaris


   They are adults

   Oct 8, 2016, 4:19 PM


   Susan Kasaris


   They have to face their issues

   Oct 8, 2016, 4:19 PM


    Kelly Patrick

   They are all wounded and beaten up. By Jack, Manuel, and Pat. It's sad

   Oct 8, 2016, 4:18 PM


    Kelly Patrick

   And I hear Tom's kids are already rebelling and complaining about their dad.

   Oct 8, 2016, 4:18 PM


   Susan Kasaris


    Dan bought me flowers the day he left

   Oct 8, 2016, 4:17 PM


    Kelly Patrick

   Paul does not have it all. Like John, they act like they do but behind closed doors is a different story.
   Oct 8, 2016, 4:17 PM


   Susan Kasaris


    Every one is different. I am totally different then my siblings

   Oct 8, 2016, 4:14 PM
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    Susan Kasaris


    I was a size 8 when I met him. Strange.

    Oct 27, 2016, 12:44 PM


    Susan Kasaris


    I am a size 10..... or size 12 my whole life. How funny

    Oct 27, 2016, 12:43 PM


    Susan Kasaris


    Yeah. Dan thinks I'm fat. I'm like take a look at all these 50 yr olds .....whatever, lol

    Oct 27, 2016, 12:42 PM


    Ketly Patrick

    That made me laugh. They don't talk about this kind of shit. They bash women and fat people
    whenever I've been around them.

    Oct 27, 2016, 12:41 PM


    Susan Kasaris


    Really??? I thought Dan told John. My bad for thinking they actually talked about it...

    Oct 27, 2016, 12:40 PM


    Kelly Patrick

    I had no idea. No idea.

    Oct 27, 2016, 12:39 PM


    Susan Kasaris


    I was so stressed out... ! had 4 babies.......it was crazy

    Oct 27, 2016, 12:37 PM


    Susan Kasaris


    She didn't want Dan to go and was trying to get me to sway him
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    He would tell me I'm needy and insecure if I wanted him to say I love you and that I looked good.

    Oct 27, 2016, 12:56 PM


   Susan Kasaris


   You dont deserve that

   Oct 27, 2016, 12:56 PM


    Kelly Patrick

   I fell into that trap again this past time I tried with John. He wouldn't tell me I looked good or that he
   loved me. But he'd want sex.

   Oct 27. 2016. 12:54 PM


   Susan Kasaris


    I take care of myself and eat right. That is all I care about

   Oct 27, 2016, 12:49 PM


   Susan Kasaris


   Dan wouldn't tell me I'm fat..... but he would infer it

   Oct 27, 2016, 12:47 PM


   Susan Kasaris


   OMG! that is insane. I hope you realize it isn't true. Riduculous

   Oct 27, 2016, 12:46 PM


    Kelly Patrick

   Oh for sure. John's obsessed with pom. John would tell me all the time how bad I looked and would
   have to stop eating or start working out more. I have had years of self esteem issues because of all
   that.

   Oct 27, 2016, 12:45 PM


   Susan Kasaris


   They are jaded by the Internet fake women
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   They play with our emotions!

   Nov 28, 2016, 9:54 AM


   Susan Kasaris


   That is good...you were strong!

   Nov 28, 2016, 9:53 AM


   Susan Kasaris


   Dan is messed up . He is seeking help and I am happy about that

   Nov 28, 2016, 9:53 AM


   Kelly Patrick

   I didn't. I worked all weekend. John invited me over but I said no. It was hard. And I'm in a bad mood
   today, mad at him.

   Nov 28, 2016, 9:50 AM



   Susan Kasaris


   Hello. It was nice. hlow was urs. Did u have the kids

   Nov 28, 2016, 9:42 AM


   Kelly Patrick

   How was your thanksgiving? Dan come around? Anything getting better?

   Nov 28, 2016, 9:06 AM


   Ketly Patrick

   I do now. Took me years to figure that out.

   Oct 27, 2016, 1:00 PM


   Susan Kasaris


   Kelly, I hope you know that isn't true.

   Oct 27, 2016, 12:57 PM
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    That is crazy. He constantly told me I was a good Mom. Typical stuff that guys say when they have
    ever an affair. He messed himself up
    Nov 28, 2016, 10:37 AM



    Kelly Patrick

    Crazy is what I've always heard. Your family is fucked up they say. He isn't attracted to you, he
    thinks you're fat and lazy. He thinks you're not a good mom, isn't sexually attracted to you. Had to
    find another girl to see if the problem was him or you, turns out he said it was you. hie is better off
    without you he would say. Blames you for the girls not wanting to be around him, at the time he left.

    Nov 28, 2016, 10:33 AM


    Susan Kasaris


    What does Dan say.. I can handle it

    Nov 28, 2016, 10:30 AM


    Kelly Patrick

    You're giving me my strength back!! Fuck John and his drama. My life is much much better without
    him involved.

    Nov 28, 2016, 10:29 AM


    Susan Kasaris


    Yes.i agree

    Nov28, 2016, 10;28AM


    Kelly Patrick

    John says I'm controlling too. And we aren't. It's because they've never had anyone to teach them
    right and wrong and here we are stable people and they can't handle it. Pat never enforced rules.

    Nov 28, 2016, 10:28 AM


    Susan Kasaris


    I'm sure I already know

    Nov 28, 2016, 10:28 AM


    Kelly Patrick
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   Idk. He is probably ly suppressing his feelings

   Nov 28, 2016, 11:07 AM


   Kelly Patrick

   Fucking loser. He's 51 and that's what he aspires to be.

   Nov 28, 2016, 11:07 AM


   Susan Kasaris


   That he just wants sex..... no drama

   Nov 28, 2016, 11:06 AM


   Kelly Patrick

   What?

   Nov 28, 2016, 11:03 AM



   Susan Kasaris


   That is what John told Dan

   Nov 28, 2016, 11:03 AM


   Kelly Patrick

   That's what they want. Someone to fuck and not tell them what to do.

   Nov 28, 2016, 11:00 AM


   Susan Kasaris


   Again... the media image of women

   Nov 28, 2016, 10:59 AM


   Kelly Patrick

   They both did. They'll never find women to tolerate them.

   Nov 28, 2016, 10:39 AM
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    Just more bad raising issues

    Nov 28, 2016, 11:15 AM


    Susan Kasaris


    Oh brother

    Nov 28, 2016, 11:14 AM


    Kelly Patrick

   And of course they blamed you for buying bad food and making them fat.

    Nov 28, 2016, 11:14 AM


    Susan Kasaris


    He called demi family to her face on Easter and they got in a big figbt

    Nov 28, 2016, 11:14 AM


    Kelly Patrick

    He is fat!!!

    Nov 28, 2016, 11:13AM


    Susan Kasaris


    He has self confidence issues

    Nov 28, 2016, 11:13 AM



    Kelly Patrick

   Yep, calls Demi and Melanie fat all the time.

    Nov 28, 2016, 11:13 AM



    Susan Kasaris


    He is fat.. lot

    Nov 28, 2016, 11:13 AM
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    *he called demi fat to her face

    Nov 28, 2016, 11:23 AM


    Kelly Patrick

    John says the same stuff about fat people too. Watching too much porn and playboy.

    Nov 28, 2016, 11:22 AM


    Susan Kasaris


    My kids are pissed at him for it

    Nov 28, 2016, 11:21 AM


    Susan Kasaris


    Dan makes fun of fat people constantly. It is just wrong

    Nov 28, 2016, 11:19 AM


    Susan Kasaris


    He is skewed by the media image of women

    Nov 28, 2016, 11:19 AM


    Susan Kasaris


    I do know Dan loves me. He shows ot daily. That said why it is difficult

    Nov 28, 2016, 11:18 AM


    Susan Kasaris


    Idk why this happens. It sucks
    Nov 28, 2016, 11:18 AM



    Kelly Patrick

    I'm better off without John. I don't really know why this is my life, dealing with him.
    Nov 28, 2016, 11:15 AM
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    Nov 28, 2016, 12:04 PM


   Susan Kasaris


    Idk what I want anymore

    Nov 28, 2016, 12:03 PM


   Susan Kasaris


   The affairwas him lashing out over his internal issues

   Nov 28, 2016, 12:03 PM


   Susan Kasaris


   U dont see what we really have b4 the affair

   Nov 28, 2016, 12:02 PM


   Kelly Patrick

   After all this, why do you want him?

   Nov 28, 2016, 12:02 PM


   Susan Kasaris


   It is how u feel

   Nov 28, 2016, 12:01 PM


   Susan Kasaris


   I dont care if Dan gains 50 Ibs
   .. I told him that ... looks don't matter to me

   Nov 28, 2016, 12:01 PM


   Susan Kasaris


   ldk.... i just don't get it

   Nov 28, 2016, 12:00 PM


   Susan Kasaris
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    Nov 28, 2016, 12:10 PM


    Susan Kasaris


    He did not go over John's on Thanksgiving

    Nov 28, 2016, 12:09 PM


    Kelly Patrick

   So how will he change if he continues to hang out with John and act like assholes?

    Nov 28, 2016, 12:08 PM


   Susan Kasaris


    But he texts me

    Nov 28, 2016, 12:06 PM


   Susan Kasaris


    He plays the good old boys club with John

    Nov 28, 2016, 12:06 PM


   Susan Kasaris


   Becuz he wants our family life and he is embarrassed by his actions

   Nov 28, 2016, 12:05 PM


    Kelly Patrick

   He's living a double life. hle's one man to John and another one to you. He doesn't want John to
   know this side of him.

   Nov 28, 2016, 12:04 PM


    Kelly Patrick

   John and I once had a good thing too. But it's been more bad years than good.

    Nov 28, 2016, 12:04 PM


   Susan Kasaris
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    He had a girlfriend then.

    Nov 29, 2016, 1:22 PM


    Susan Kasaris


    2010

    Nov 29, 2016, 1:21 PM


    Kelly Patrick

    When did he live with John?

    Nov 29, 2016, 1:21 PM


    Susan Kasaris


    Well because we were then2

    Nov 29, 2016, 1:20 PM


    Kelly Patrick

    You're right. 2014

    Nov 29, 2016, 1:20 PM


    Susan Kasaris


    Are you sure Dan said that stuff summer of 2015? Because we were together then things were
    going good

    Nov 29, 2016, 1:19 PM


    Susan Kasaris


    hlaha . Agree
    Nov 28, 2016, 3:44 PM



    Kelly Patrick

    Good. I appreciate our new friendship. Who would've thought.
    Nov 28, 2016, 3:42 PM
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   When they are together they are ruthless. Just mean men.

    Nov29, 2016, 1:24PM


   Susan Kasaris


   Once he didn't talk to his friend for 4 urs

   Nov 29, 2016, 1:24 PM


   Susan Kasaris


   hie talks crap about everyone when he is mad

   Nov 29, 2016, 1:24 PM


   Kelly Patrick

   Has he apologized?

   Nov 29, 2016, 1:24 PM


   Susan Kasaris


    I guess it realty does that matter

   Nov 29, 2016, 1:23 PM


   Kelly Patrick

   That's good. It was 2014.

   Nov 29, 2016, 1:23 PM


   Susan Kasaris


   That was 2012

    Nov 29, 2016, 1:23 PM


   Susan Kasaris


    Because I knew all that stuff. We already talked about all of this is a therapy

    Nov 29, 2016, 1:22 PM
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    I have an appt now. Just on my mind.
    Nov 29, 2016, 1:27 PM



    Kelly Patrick

    No, that's when he was over John's when I came to pick kids up.

    Nov 29, 2016, 1:27 PM


   Susan Kasaris


    He didn't have a girlfriend in 2014
   Nov 29, 2016. 1:26 PM



   Susan Kasaris


   Plus the drinking enhances it

   Nov 29, 2016, 1:25 PM


   Susan Kasaris


   All men do!

   Nov 29, 2016, 1:25 PM


   Susan Kasaris


   They like to act like children

   Nov 29, 2016, 1:25 PM


   Susan Kasaris


   Dan plays into in.... he knows it's wrong.... he just plays along

   Nov 29, 2016, 1:25 PM


   Susan Kasaris


   And his Mom for 2 yrs

   Nov29, 2016, 1:24PM
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   Susan Kasaris


    Dan probably thinks he can get some 30 yr old and that will make him happy

   Dec 1, 2016, 11:16AM


    Kelly Patrick

   Yep. Destroying everything in their path to run away.

   Dec 1, 2016, 11:10 AM


   Susan Kasaris


   They run away instead effacing

   Dec 1, 2016, 11:09 AM


    Kelly Patrick

   Wish they'd realize they have the power to make their life better.

    Dec 1, 2016, 11:08 AM


   Susan Kasaris


   Again...lack of father figure

    Dec 1, 2016, 11:08 AM


   Susan Kasaris


   Omg.. that's crazy

    Dec 1, 2016, 11:07 AM


    Kelly Patrick

    It's too hard for him to tell me something nice. I don't know why. It took me losing my hair for him to
   tell me he loves me.

    Dec 1, 2016, 11:07 AM


    Susan Kasaris
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    Why do I even bother?

    Dec 19, 2016, 2:12 PM


    Susan Kasaris


    Narcissist

    Dec 19, 2016, 2:03 PM


    Susan Kasaris


    Yep!
    Dec 19. 2016, 2:03 PM


    Kelly Patrick

    I did lots of research over the weekend about dealing with addicts. They manipulate and blame. And
    are just plain mean.

    Dec 19, 2016, 1:59 PM


    Susan Kasaris


    They play games

    Dec 19, 2016, 1:52 PM


    Kelly Patrick

    I don't talk to him often, felt the need to reach out this weekend.

    Dec 19, 2016, 1:50 PM


    Susan Kasaris


    Sorry I was out to lunch

    Dec 19, 2016, 1:41 PM


    Susan Kasaris


    I thought you weren't talking to him
    Dec 19, 2016, 1:40 PM
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            0:00/0:00


    Dec 25, 2016, 9:52 PM


    Susan Kasaris


    you need to move on!

    Dec 25, 2016, 9:52 PM


    Susan Kasaris


   wtheck

    Dec 25, 2016, 9:52 PM


    Kelly Patrick

    Ours too. He spent so much money on alcohol, cigars, and porn.

    Dec 25, 2016, 9:52 PM


    Susan Kasaris


    sorry wrong button

    Dec 25, 2016, 9:52 PM


    Susan Kasaris


    You missed a video chat with a contact.

    Dec 25, 2016, 9:51 PM


    Susan Kasaris


    that was one 9f our problems

    Dec 25, 2016, 9:47 PM


    Susan Kasaris


    dan is bad with it too

    Dec 25, 2016, 9:46 PM
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    I dont get it.... he is a finance major!

   Dec 25, 2016, 9:46 PM


   Kelly Patrick

   Pat didn't teach them much.

   Dec 25, 2016, 9:46 PM


   Kelly Patrick

   He's the worst with money.

   Dec 25, 2016, 9:46 PM


   Susan Kasaris


   Pat didn't teach them about finance...but John is a finance major

   Dec 25, 2016, 9:45 PM


   Susan Kasaris


   I know

   Dec 25, 2016, 9:44 PM


   Kelly Patrick

   John has money but he's also in debt.

   Dec 25, 2016, 9:44 PM


   Susan Kasaris


   I know what u mean though.

   Dec 25, 2016, 9:42 PM


   Susan Kasaris


   well as u see money isn't everything

   Dec 25, 2016, 9:42 PM
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    They do think it's normal. That's the sad part. John said he wants someone who will fuck him when
    he wants and who will let him drink and smoke and do his thing. I said no way.

    Jan 4, 2017, 3:23 PM


    Susan Kasaris


    They feel that it's normal to have a broken family

    Jan 4, 2017, 3:15 PM


    Susan Kasaris


    It's funny because he is so about family and his is broken!

    Jan 4, 2017, 3:15 PM


    Susan Kasaris


    I dont know what John is looking for

    Jan 4, 2017, 3:13 PM


    Susan Kasaris


    so true!!!

    Jan 4, 2017, 3:13 PM


    Kelly Patrick

    I keep reading a quote that says the right people will want you in their lives.

    Jan 4, 2017, 3:06 PM


    Susan Kasaris


    I know the feeling...lol

    Jan 4. 2017, 3:03 PM


    Kelly Patrick

   They hate John. All my friends hate John. No one wants me with him.

    Jan 4, 2017, 3:02 PM
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   Oct 16, 2017, 9:51 AM


   Kelly Patrick

   It's not easy, I give him props for trying. At least he acknowledges it.
   Oct 16, 2017, 9:50 AM


   Susan Kasaris


   Dan is trying and I do see results

   Oct 16, 2017, 9:49 AM


   Kelly Patrick

   They don't know how to control it and manage it.

    Oct 16, 2017, 9:49 AM


    Susan Kasaris


    He wenttailgatingwith his cousinsand he did like 10 shots and I wasvery pissedoffat him... it was
   just ridiculous, hie admitted he got carried away
    Oct 16, 2017, 9:48 AM



    Kelly Patrick

    Trying is at least a start. John won't even try.

    Oct 16, 2017, 9:48 AM


    Susan Kasaris


    Dansdrinking bothers me. He didntdrinkat all thisweekend. He is trying andthats is whyi am
    trying

    Oct 16, 2017, 9:48 AM


    Susan Kasaris


    Omg

    Oct 16, 2017, 9:47 AM
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   He refuses to believe it. He put a tv in the kitchen and he sits at the table watching the news drinking
   his beer, just like Manuel did.

   Oct 16, 2017, 9:46 AM


   Susan Kasaris


   Dan throws fits at times. Childish fits. It is weird. He told me he is working on it

   Oct 16, 2017, 9:46 AM



   Susan Kasaris


   What did he say

   Oct 16, 2017, 9:45 AM


   Kelly Patrick

   We don't have parent teacher conferences. He acts just like Manuel. I've told him that many times.
   Oct 16, 2017, 9:42 AM



   Susan Kasaris


   - it seems like a lot of this Behavior they got from Manuei

   Oct 16, 2017, 9:18 AM


   Susan Kasaris


    Does he go to any parent-teacher visits

    Oct 16, 2017, 9:17 AM


    Kelly Patrick

    Brayden was in a fetal position and John was standing over him screaming.

    Oct 16, 2017, 9:17 AM


    Kelly Patrick

    It's the smoking, the drinking, and his negative behavior.

    Oct 16, 2017, 9:17 AM
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DAMIAN A. BILLAK
 ATTORNEY AT LAW                                                                        23 Lisbon Street, Suite K
                                                                                            Canfield,OH 44406
                                                                                           Office; 330-702.2000
                                                                                             Fax: 330-702-2970
                                                  May20, 2021
     VIA U.S. MAIL


     Kelly Patrick
     c/o Circle ofLife Yoga
     26914 CookRoad
     Ohnsted Falls, OH 44138

     Kelly Patrick
     8883Holly Lane
     OhnstedFalls, OH 44138

     Ms. Patrick,

             I am writing on behalfof my client, Daniel K-asaris, in regards to false, libelous, and
     defamatorystatements that you continually sendvia U.S. Mail and electronically to members of
     the communityandMr. Kasaris'family. Thetimehascometo stopthisbehaviorimmediately.

             This letter is to serve as notice to immediately ceaseanddesistcommunicating,whether
     via U. S. Mail, email, verbally, electronically, any blog posts, or any other means by false
     statements about Dan Kasaris, and immediately take down any ofthe aforementioned.

             I have reviewed in their entirety numerous internet postings, emails, and written materials
     in which you falsely alleged misconduct and unlawful conduct by Dan Kasaris. Nothing could be
     further from the truth thanyour false accusations.

            Again, this letter is to serve asnotice to immediately cease anddesist communicating false,
     harassing, and/or defamatory, or disingenuous statements in any form about Mr. Kasaris, his
     family members, firiends, co-workers, and members ofthe community.

             To reiterate, this letter serves to give notice to cease and desist communicating false
     informationaboutDanKasaristo hisfamily,co-workers,communitymembers,courts, or anyone
     else.




                           Email: dbillak@billaklaw.com         Website:www.bitlaklaw.com
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    Kelly Patrick
    May 20, 2021
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           If you continue your unlawful behavior, you risk being subject to further legal action and
    proceedings. To be more specific, among other crimes, your continued actions may constitute
    telecommunication harassment, stalking, intimidation, retaliation, falsification, cyber-stalking,
    engaging in a pattern ofcorrupt activity andcivil cause ofaction oflibel, slander andinvasion of
    pnvacy.

              Attached hereto are a list of individuals akeady contacted by you that should not be
    contacted again upon receipt of this letter.

                                                   Thank you,




                                                   DAMIANA. BILLAK
                                                   Attorney at Law

     DAB/pp
     Enclosure




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                                         NOCONTACTLIST


    Dan Kasaris
    PatriciaKasaris
    Any person with the last name Kasaris
    And anydaughterofDanielKasaris,theirfiance,husbandorboyfriend
    JaniceStamp
    Charles Logan
    Grace Logan
    Paul Logan, and his wife andchildren
    JohnPatrick(exceptasprovidedby OrderoftheCuyahogaCountyDomesticRelationsCourt
           order)
    Julie StancUffand her husband and any ofher children
    ThomasandWendyRydarowicz,personallyor theu-business
    Officeofthe OhioAttorneyGeneralandits employeesasto DanKasaris
    OfBceoftheAuditorofStateandits employees
    Kelly Connors
    Any person related by blood to Kelly Connors or any former Husband
    John Connors
    Marlene Connors
    Alyssa Kasaris and anyone at Mount Union College including, but not limited to, friends,
           roommates and others
    Nick Hmben and his family
    SusanKasarisandanyfamily members ofSusanKasaris, includingparents, siblings, spouse of
           sibling or children
    Any realtor or employee ofReMax
    Jon Rydarowicz
    Jenna Rydarowicz
    Jerrad Rydarowicz
    RobertaRydarowicz
    JohnMichael Rydarowicz, or anyperson with the last name ofRydarowicz orbom withthe last
           name ofRydarowicz
    Any elected officials anddepartment heads ofthe City ofNorth Royalton
    Any employee ofthe Mahoning County Prosecutor's Office and Cuyahoga County Prosecutor's
           Office
    Any person who has ever signed a petition for Dan Kasaris or donated money to Friends of
           KLasaris




       ^y. hw B
